                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF TENNESSEE
                         NORTHERN DIVISION

SOPHIA PHEAP, as Administratrix and       )
Personal Representative of the ESTATE     )
of CHANNARA PHEAP,                        )
                                          )
                  Plaintiff,              )
                                          )
v.                                        )     NO. _______________________
                                          )
CITY OF KNOXVILLE, Tennessee,             )     Jury of Twelve Demanded
a governmental entity;                    )
CHIEF EVE M. THOMAS, individually;        )
DYLAN M. WILLIAMS, individually, and      )
JOHN and JANE DOES 1-5, individually,     )
                                          )
                  Defendants.             )
______________________________________________________________________________

COMPLAINT FOR CIVIL RIGHTS VIOLATIONS AND WRONGFUL DEATH
______________________________________________________________________________

                                          Lance K. Baker, Esq.
                                          Tenn. Bar #: 032945
                                          THE BAKER LAW FIRM
                                          550 Main Street, Suite 600
                                          Knoxville, TN 37902
                                          Tel: (865) 200-4117
                                          Fax: (865) 437-3370
                                          Email: lance@lbakerlawfirm.com

                                          Joshua D. Hedrick, Esq.
                                          WHITT, COOPER, HEDRICK
                                            & WOJCIK
                                          607 Market Street, Suite 1100
                                          Knoxville, TN 37902
                                          Tel: (865) 518-7073
                                          Email: hedrick@knoxdefense.com

                                          Counsel for Plaintiff




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      COMES Sophia Pheap, as Administratrix and Personal Representative of the

Estate of Channara Pheap (“Plaintiff”), and files this Complaint against the City of

Knoxville, Tennessee, a governmental entity (the “City”), Chief Eve M. Thomas,

individually (“Chief Thomas”), Dylan M. Williams, individually (“Officer Williams”),

and John and Jane Does 1-5, individually (“Doe Defendants”) (collectively,

“Defendants”).

                             I. NATURE OF ACTION

                    “This 33-year old man, Channara T. Pheap,
                          died of gunshot wound of back.”1

      1.     This civil rights and state tort action arises out of the wrongful death of

Channara Tom “Philly” Pheap (“Mr. Pheap”) – a 33-year old father of a five-year old

daughter – in connection with the fatal police shooting by Knoxville Police Department

(“KPD”) Officer Dylan M. Williams (“Officer Williams”) at 5:39 p.m. on August 26, 2019

in a parking lot of an apartment complex.

      2.     On August 26, 2019, at approximately 5:35 p.m., Officer Williams was

investigating a hit and run that had occurred moments earlier on Baxter Avenue in

Knoxville. Given the license plate number of the suspect hit and run vehicle – a gold

Dodge Neon – Officer Williams tracked its registered owner to an address at Clear

Springs Apartments in northwest Knoxville and made his way to that location.

Spotting a vehicle matching the description of the suspect hit and run vehicle parked



      1
      See Final Autopsy Report of Channara T. Pheap, Aug. 31, 2019, Knox
County Medical Examiner.

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in one of the parking lots of the apartment complex, Officer Williams pulled in behind

that vehicle and exited his cruiser, with dash-cam and audio enabled, leaving his K-9

(Nash) behind in the back seat, to locate the driver.

      3.     On the cruiser-video, ground floor residents are seen directing Officer

Williams upstairs, telling him he would need to go around to the back of the building

to get upstairs. Officer Williams walked around the corner of the apartment building.

At this point, although no video2 of the next few moments exists, Officer Williams

encountered Mr. Pheap coming down the stairs and started to question him.

      4.     At that moment, Mr. Pheap was merely a suspect in a misdemeanor hit

and run offense. He was not “under arrest.” Because he had checked the Tennessee

Criminal Justice Portal, Officer Williams knew that the registered owner of the gold

Dodge Neon was a female who resided at Clear Springs Apartments. And although he

was informed via radio right after he encountered Mr. Pheap that the hit and run




      2
        Although the KPD implemented in-car audio/video recording in or about
1998, as of August 26, 2019, the department did not equip its officers with body-
worn cameras. In contrast, Knox County Sheriff’s Office deputies are equipped with
both body and dash cameras. Calls to equip KPD officers with body-cams mounted
after a series of fatal shootings by local police, including Officer Williams killing of
Mr. Pheap. While dash-cam footage from Officer Williams’ cruiser showed the two
men fighting, the shooting itself was not caught on video. For months, investigating
authorities declined to release key details about the shooting, leading activists to
call for increased transparency and body-cams. Finally, in September 2019,
Knoxville’s City Council requested that KPD explore the possibility of purchasing
body-cams. The department took bids for supplying the devices in January 2020. In
July 2020, City Council approved a contract with Axon Enterprises to purchase
body-cams for KPD officers. The City is expected to deploy the devices as early as
Fall 2020.

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suspect was a “light or medium-skinned Black male or a Hispanic,”3 Mr. Pheap was

actually neither Black nor Hispanic.

      5.     Nor did Mr. Pheap appear to pose an immediate threat to Officer

Williams’ safety. Nevertheless, the cruiser-audio indicates that amidst his questioning

of Mr. Pheap, Officer Williams decided to conduct a “Terry v. Ohio”4 pat-down to check

Mr. Pheap for weapons.5 Mr. Pheap turned around, his back facing Officer Williams,

as Officer Williams had commanded. For reasons that will never be fully known, a




      3
       The driver who reported the hit and run and followed the suspect vehicle
actually described the suspect to the 911 operator as follows: “I want to say he’s a
Mexican or mixed. I’m not sure.”
      4
        Terry v. Ohio, 392 U.S. 1 (1968), was a landmark decision of the United
States Supreme Court in which the Court ruled that the Fourth Amendment’s
prohibition on unreasonable searches and seizures is not violated when a police
officer stops a suspect on the street and frisks him without probable cause to arrest,
if the police officer has a reasonable suspicion that the person has committed, is
committing, or is about to commit a crime and has a reasonable belief that the
person “may be armed and presently dangerous.” For their own protection, after a
person has been stopped, police may therefore perform a quick surface-search of the
person’s outer clothing for weapons if they have reasonable suspicion that the
person is armed. This reasonable suspicion, however, must be based on “specific and
articulable facts” and not merely upon a hunch. This permitted action has been
referred to as a “stop and frisk” or simply a “Terry frisk.”
      5
       Officer Williams justified the pat-down in a post-shooting statement to
investigators by claiming Mr. Pheap kept putting his hands in his pockets and that
he noticed a “bulge” in one of Mr. Pheap’s pockets. However, no weapon of any sort
was found on Mr. Pheap’s body after the shooting. Nor was any weapon located at
the crime scene. Nor was any item found on Mr. Pheap or at the crime-scene that
could have been mistaken for a weapon or produced a “bulge” in Mr. Pheap’s pocket.

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struggle ensued. According to Officer Williams – whose account, unfortunately, is the

only one left – after he asked Mr. Pheap if he could check to see if he had keys in his

pocket, Mr. Pheap tried to run away.6

      6.     From this point until moments later, when Mr. Pheap lay dead in the

parking lot of a gunshot wound to the back, Officer Williams’ lack of training

unnecessarily escalated a routine situation into fatal one. First, Officer Williams

attempted to stop Mr. Pheap from getting away from him by unsuccessfully using a

leg-sweep on him. Then, Officer Williams grabbed Mr. Pheap around the waist from

behind, more or less placing him in a bear-hug. All of this, however, was unnecessary.

Mr. Pheap was on-foot, and even if he was the suspected hit and run driver, the vehicle

he was driving – the gold Dodge Neon – was blocked-in by Officer Williams’ Tahoe. Mr.

Pheap was not going anywhere. And Officer Williams knew very well that the



      6
        Following Mr. Pheap’s death, Officer Williams conjured up various notions of
Mr. Pheap’s purported actions in an effort to reflect that Mr. Pheap was a “threat”
to him at this juncture. For example, Officer Williams told investigators: “from the
moment I saw him walking down the stairs to the moment that he started to run he
was looking around as if planning a possible escape route.” And, referring to an
alleged “bulge” in Mr. Pheap’s pocket, Officer Williams said he thought ‘it could be a
weapon.” Also, Officer Williams recalled, “Big red flags were going off.” Yet, there is
no evidence that Officer Williams’s post-incident statements about his safety being
threatened at this point had any basis in fact. Simply put, Mr. Pheap was a 5'10½"
157-pound unarmed man. Officer Williams was a well-armed police officer. What’s
more, if Officer Williams considered Mr. Pheap a threat at this stage, why did he
not call for back-up? Why did he not use de-escalation skills that he was supposedly
trained to employ in such cases by KPD? Why did he not use other force-options on
the KPD’s force-continuum to insure his safety? The obvious reason is that at this
point, he did not at all believe Mr. Pheap was a threat. Worse, he did not utilize de-
escalation skills or proceed along the KPD’s force-continuum because he had never
received the proper training to allow him to do so.

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registered owner of the Dodge Neon resided at Clear Springs Apartments. In other

words, if he was the hit and run driver, Mr. Pheap was undoubtedly a marked man.

      7.     There was no legitimate reason to escalate the situation into one involving

force, much less deadly force. Officer Williams could have allowed Mr Pheap to reach

an optimal distance (15-25 feet), then deployed his TASER. He could have used his

baton. He could have used pepper-spray. He could have let Mr. Pheap go, radioed for

back-up, and got his K-9 out of the Tahoe to pursue Mr. Pheap. In other words, Officer

Williams had a variety of non-deadly alternatives, and if he had only been trained

sufficiently to consider them, he would not have shot and killed Mr. Pheap just a few

moments later.

      8.     Instead, Officer Williams created a dangerous situation by initiating force

against Mr. Pheap. Officer Williams turned what was an information-gathering

encounter into a physical confrontation, doing so with neither back-up or his K-9. The

two men, each struggling to get the upper hand, slid together down the muddy hill

between apartment buildings to the parking lot.

      9.     At that point, Officer Williams’ cruiser-video shows Mr. Pheap breaking

free and started to run away (again), toward the parking lot. In response, Officer

Williams drew his KPD-issued TASER and warned the fleeing Mr. Pheap twice that

he was going to tase him. Mr. Pheap stopped, turned around to face Officer Williams,

and raised his hands. From there, accounts of what happened next vary.

      10.    There is audio – but no video – of the next moments. Mr. Pheap is not

around to talk about it. But whether Officer Williams tased Mr. Pheap, which is what

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at least one witness said happened, or whether Mr. Pheap actually took Officer

Williams’ TASER away from him and fired it in Officer Williams’ direction, which is

what Officer Williams and other witnesses say happened, or whether the TASER was

triggered accidentally by either man in the struggle – the TASER pulse-log shows it

was fired at such a close range that any shock was largely ineffective (it released only

2,000 volts).7 Officer Williams claims that Mr. Pheap tried to tase him or that he was

tased, but he also stated that he was “fine” after supposedly being tased. Whatever

happened, Mr. Pheap started to run away again.

      11.    According to at least one witness, Mr. Pheap dropped the TASER and ran

about four parking spaces away from Officer Williams – as much as forty (40) feet –

when, according to multiple witnesses, as the unarmed Mr. Pheap was still running

away, with his back to Officer Williams, Officer Williams drew his .45 Sig Sauer

handgun and, without warning, fired two rounds at Mr. Pheap, hitting him once in the

back. Mr. Pheap died at the scene.8

      12.    After the shooting, Officer Williams claimed – and the Knox County

Sheriff’s Office (“KCSO”) and Knox County Attorney General Charme Allen (“DA




      7
        Under optimal conditions and deployment, the TASER X26P shoots out 2
darts attached to 25 feet of wire carrying 50,000 volts. By comparison, static
electrical charges of 25,000 volts are not uncommon from door knobs, filing
cabinets, or other metal objects.
      8
        Knox County Chief Medical Examiner, Dr. Darinka Mileusnic, stated that
the bullet entered slightly from back to front and slightly downward, entering next
to the scapula, involving the left chest, the upper lobe of the left lung, and
perforating the aorta. Mr. Pheap died of exsanguination.

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Allen”) found – that the shooting of Mr. Pheap was a justifiable homicide because

Officer Williams purportedly “had probable cause and a reasonable belief” that Mr.

Pheap “posed a threat of imminent death or serious bodily injury,” as Officer Williams

“was engaged in a violent altercation with Pheap.”9

      13.    Yet, at the moment Officer Williams fired the two shots at Mr. Pheap and

killed him, the altercation between the two men had ended: they were separated by

approximately 40 feet, by one witness-account, with Mr. Pheap unarmed and running

away from Officer Williams. Mr. Pheap thus posed no imminent threat of danger to

Officer Williams at the time Officer Williams shot him. Accordingly, Officer Williams’

use of deadly force can hardly be reasonable under these circumstances.

      14.    What is more, even if Mr. Pheap had the TASER at any point, by the time

Officer Williams fired the two shots at him, Mr. Pheap had dropped it. After all, the

wires to the Axon X26P TASER were only 25-feet long. According to Officer Williams,

one of its two darts was stuck in his utility belt. At such a distance, Mr. Pheap could

not have been holding the TASER, as he was well beyond the wires’ length. In truth,

he was simply trying to get away.




      9
        Historically, a policy existed for KPD to investigate any KCSO
officer-involved shooting and the KCSO to investigate any KPD officer-involved
shooting. Thus, pursuant to a Memorandum of Understanding for Officer Involved
Shootings, the lead investigative agency in this case was the KCSO. In April 2020,
DA Allen requested the Tennessee Bureau of Investigation (“TBI”) to conduct all
officer-involved shootings investigations related to Knox County and Knoxville law
enforcement agencies.

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      15.    Officer Williams, the KCSO, and DA Allen also claim that Officer

Williams had no alternative but to use deadly force under the circumstances. Yet, the

actual circumstances presented Officer Williams with a variety of alternatives to

fatally shooting a fleeing and unarmed Mr. Pheap: he could have utilized his Oleoresin

Capsicum (OC) Spray (pepper-based spray); or, pursued Mr. Pheap with his baton;

also, Officer Williams’ K-9,Nash, was just a few feet away in the back of his Tahoe, and

he could have let the K-9 out to pursue Mr. Pheap, who was on-foot;10 or, he could have

radioed for back-up to pursue Mr. Pheap, who was not likely to get very far without

being apprehended; or, he could have let Mr. Pheap go for the time being so as not to

let the situation escalate, and questioned the driver of the Dodge Neon, whose identity

and address he knew at this point: she resided at Clear Springs Apartments.

      16.    From his initial contact with Mr. Pheap, Officer Williams’ actions and his

lack of proper training from the KPD unnecessarily and unreasonably escalated a

placid situation – the routine questioning of a possible misdemeanor offense suspect

– first into a situation of non-lethal force (using a leg-sweep and tackling Mr. Pheap

to keep him from getting away), then into a situation of less-lethal force (pulling his

TASER), and finally, into a situation of deadly force, firing two rounds to fatally wound

a fleeing and unarmed Mr. Pheap from approximately 40 feet away.


      10
        Just four months earlier, on April 6, 2019, Officer Williams had deployed
Nash to apprehend two armed carjacking suspects who, like Mr. Pheap, had fled on
foot. The suspects were tracked several blocks and one immediately surrendered.
The second suspect attempted to continue his flight, but Officer Williams released
Nash, who pursued and bit the fleeing suspect, causing him to go to the ground and
be taken into custody without further incident.

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      17.      Despite repeated opportunities, Officer Williams failed to bring Mr. Pheap

into control by using non-deadly force: he failed to use his baton to get control of Mr.

Pheap; he failed to use pepper-spray; he apparently failed to use his TASER as he

chased Mr. Pheap into the parking lot; and he failed to utilize Nash, his K-9, to control

Mr. Pheap.11

      18.      Mr. Pheap was running away and unarmed and did not pose an

immediate threat of death or serious bodily injury to Officer Williams at the time hie

drew his handgun and fired. A reasonable, trained, skilled, or proficient officer in

Officer Williams’ circumstances could not have believed that using deadly force in

shooting Mr. Pheap was necessary in the situation at hand, or that it was measured

or patterned for the circumstances presented.

      19.      Among other rights possessed by Mr. Pheap, “[i]t has been clearly

established in this circuit for some time that ‘individuals have a right not to be shot

unless they are perceived as posing a threat to officers or others.’” Ciminillo v.

Streicher, 434 F.3d 461, 465-66 (6th Cir. 2006).

      20.      The unconstitutional consequences of failing to train and supervise KPD

officers in the reasonable and justifiable use of force, including less-lethal and deadly

force, are so patently obvious that the City and Chief Eve M. Thomas are liable under

§ 1983.



      11
        Following the shooting, Officer Williams said that he had been too far away
from his Tahoe to call Nash to stop Mr. Pheap, and was “left with no other choice”
than to shoot Mr. Pheap.

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      21.    Defendants, acting under color of law, deprived Mr. Pheap of his

constitutional rights under the Fourth Amendment and caused his wrongful death. By

this action, brought under 42 U.S.C. § 1983 and Tennessee law, Plaintiff makes the

following claims:

             #      Count One – 42 U.S.C. § 1983 – excessive use-of-force
                    by Officer Williams against Mr. Pheap under the
                    Fourth and Fourteenth Amendments;

             #      Count Two – 42 U.S.C. § 1983 – failure of the City,
                    KPD, and Chief of Police Eve M. Thomas to properly
                    train and supervise officers with respect to the use of
                    force, including deadly force;

             #      Count Three – wrongful death of Mr. Pheap;

             #      Count Four – battery on Mr. Pheap; and

             #      Count Five – negligence in causing Mr. Pheap’s death.

      22.    Plaintiff seeks all compensatory damages available under the law,

including, but not limited to damages for (a) excruciating physical pain and suffering

before Mr. Pheap’s death; (b) severe emotional suffering and mental anguish, despair,

and hopelessness before Mr. Pheap’s death; (c) lost earnings and/or loss of earning

capacity in the future based on the probable duration of the 33-year old Mr. Pheap’s

life if the death had not occurred; (d) loss of the enjoyment of the remainder of the

probable duration of Mr. Pheap’s life if the death had not occurred; (e) funeral and

burial expenses, all of which are recoverable by Mr. Pheap’s Estate, through Plaintiff;

and (f) loss of society and companionship for Mr. Pheap’s minor daughter. Plaintiff




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further requests punitive damages against Officer Williams, individually, as well as

attorneys’ fees, costs, expenses, and all other available and appropriate relief.

                         II. JURISDICTION AND VENUE

      23.    This civil action is brought for the redress of alleged deprivations of

constitutional rights as protected by 42 U.S.C. §§ 1983, 1988, and the Fourth and

Fourteenth Amendments of the United States Constitution, and for violations of

related state law torts. Original jurisdiction is founded on 28 U.S.C. §§ 1331 and 1343.

      24.    This Court also has supplemental jurisdiction over any claims brought

under Tennessee law, pursuant to 28 U.S.C. §1367, as such claims are so related to

claims in the action within the original jurisdiction of this Court that they form part

of the same case or controversy under Article III of the Constitution.

      25.    Venue of this action is proper in this Court under 28 U.S.C. § 1391(b), as

all incidents, events, and occurrences giving rise to the action occurred in Knox County,

within the Northern Division of the Eastern District of Tennessee.

                                    III. PARTIES

      A.     Plaintiff

      26.    Sophia Pheap, the lawful and duly appointed Administratrix and Personal

Representative of the Estate of Channara Pheap (“Plaintiff”), is also the sister of the

decedent, Channara Pheap (“Mr. Pheap” or “Decedent”). Plaintiff was appointed

Administratrix of Mr. Pheap’s Estate (the “Estate”) by the Probate Division of the




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Chancery Court for Knox County, Tennessee by order on June 26, 2020. During all

relevant times, Plaintiff was a citizen and resident of Rhode Island. Mr. Pheap,

Decedent, was a citizen and resident of Knox County, Tennessee.

       B.     Defendants

       27.    Defendant, the City of Knoxville (the “City”) is a governmental entity and

political subdivision of the State of Tennessee, duly organized. It may be served

through its chief executive officer, Mayor Indya Kincannon, at 400 Main St., Room 691,

Knoxville, TN 37902. The City possessed the power and authority to adopt policies and

prescribe rules, regulations, and practices affecting all facets of the training,

supervision, control, employment, assignment, and removal of individual members of

the Knoxville Police Department (“KPD”), and to assure that actions, policies, rules,

regulations, practices and procedures of the KPD and its employees comply with the

laws and constitutions of the United States and Tennessee.

       28.    The City and KPD are responsible for all matters relating to the selection,

supervision, promotion, training, and discipline of employees, including uniformed and

non-uniformed employees.

       29.    At all relevant times, Chief Eve M. Thomas was the duly-appointed Chief

of Police for the City of Knoxville, responsible for the screening, hiring, firing, training

and the supervision of KPD officers. Chief Thomas is sued in her individual capacity

and as principal on, if any, her official bond. At all relevant times, Chief Thomas was




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operating under color of law. Chief Thomas is, upon information and belief, a citizen

and resident of Knox County and may be served with process at the Knoxville Police

Department, 800 Howard Baker Jr. Ave., Knoxville, TN 37915.

       30.    The KPD has approximately 383 sworn officers. The KPD had five officer-

involved shootings within a year of the incident that is the subject of this action,

including four fatalities. The KPD has had at least eighteen (18) officer-involved

shooting fatalities in twenty years.

       31.    At all relevant times, Defendant, Dylan M. Williams (“Officer Williams”),

was employed by the KPD as a patrol officer. Officer Williams is sued in his individual

capacity and as principal on, if any, his official bond. At all relevant times, Officer

Williams was operating under color of law. Officer Williams is, upon information and

belief, a citizen and resident of Knox County and may be served with process at the

Knoxville Police Department, 800 Howard Baker Jr. Ave., Knoxville, TN 37915.

       32.    Plaintiff also sues the fictitious Defendants, Does 1-5, as their true

identities and/or capacities and/or other facts showing their culpability are presently

unknown. These Defendants are also sued in their individual capacities as KPD

officers and as principals on, if any, their official bonds.12

       33.    Various persons not made Defendants herein, including, but not limited

to, City or KPD officials, have participated with Defendants in the violations asserted



       12
        Under Rules 4(m) and 15(c) of the Federal Rules of Civil Procedure, Plaintiff
will seek leave of this Court to amend her Complaint to set forth the true names
and capacities of such Defendants when their identities are ascertained.

                                            -13-


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herein and have performed acts and made statements in furtherance thereof. Plaintiff

reserves the right to name some or all of these persons as Defendants at a later date.

                         IV. FACTUAL ALLEGATIONS13

      A.     The Hit and Run on Baxter Avenue

      34.    On August 26, 2019, at about 5:19 p.m., a woman and her granddaughter

were driving a 2015 Toyota Highlander SUV southbound on Elm Street crossing

Baxter Avenue in Knoxville, Tennessee. They collided with a gold sedan. The gold

sedan – which had apparently been traveling eastbound along Baxter Avenue –

inexplicably allegedly fled the scene.

      35.    A passing motorist followed the gold sedan and called 911 to report the

accident. When asked for a description of the gold sedan’s driver, the motorist said, “I

want to say he’s a Mexican or mixed. I’m not sure.” The motorist got close enough to

the gold sedan to see and then relay the license plate number to the 911 dispatcher.


      13
        The allegations set forth herein are derived from multiple sources,
including, but not limited to, private investigator-interviews with multiple
witnesses, witness-video(s), preliminary and final autopsy reports from the Knox
County Medical Examiner’s Office, recordings from Officer Williams’ in-cruiser
video/audio system relative to the incident, hundreds of crime-scene photographs,
numerous audio-files, multiple hand-drawn diagrams, witness-interview transcripts
or statements, a transcript of Officer Williams’s official internal affairs interview,
interview-transcripts from interviews of other KPD officers, forensic chemistry and
biology reports of the TBI, Officer Williams’ TASER event log, and other forensic
evidence produced by the KCSO. Counsel also visited the scene of the incident,
reviewed Officer Williams’ public statement, conducted interviews of several
members of Mr. Pheap’s family and various friends, reviewed records relative to Mr.
Pheap’s limited criminal history, reviewed numerous communications between Mr.
Pheap’s counsel and the DA Allen’s office, reviewed numerous print, broadcast, and
social media reports and pages, and reviewed a lengthy video presentation by DA
Allen (exonerating Officer Williams from criminal culpability).

                                          -14-


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      36.    KPD officers began to investigate the hit and run as a violation of Tenn.

Code Ann. § 55-10-102, Leaving the Scene of an Accident, a misdemeanor.

      B.     Officer Williams Searches for the Hit and Run Suspect and
             Vehicle.

      37.    On August 26, 2019, Officer Dylan M. Williams14 started his shift as “79

Charlie” at 3:00 p.m. His assignment was to be a “wild car” – driving his KPD-issued

2014 Tahoe as the West District K-9 officer. The vehicle was equipped with a dash-

camera/audio recording system.

      38.    Officer Williams was driving in the Western Avenue-Mechanicsville area

in Northwest Knoxville when he heard a call about the hit and run incident on Baxter

Avenue. Officer Williams ran the plate in the Tennessee Criminal Justice Portal and

retrieved the information: a 2001 Dodge Neon registered to Jessica Beverwyk at 1716

Merchants Drive. Officer Williams knew this was the address for Clear Springs

Apartments (formerly Tillery Ridge Apartments) and made his way there.

      39.    Officer Williams turned off of Merchants Drive into the apartment

complex, at which time his cruiser audio/video system activated. He spotted a gold

Dodge Neon in the first parking lot and pulled into that lot. He confirmed the license

plate on the vehicle and pulled behind the gold Dodge Neon at an angle, to block it in.




      14
       Officer Williams was hired in January 2014. By August 2019, he had been
assigned to the K-9 Unit for the West Charlie Squad afternoon shift for the three
years.

                                         -15-


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      C.     Officer Williams Is Directed to the Third Floor and
             Encounters Channara Pheap.

      40.    Officer Williams exited his Tahoe and, leaving Nash, his K-9, in the back,

walked over to a nearby apartment. He asked the occupants if they knew where he

could locate the owner of the vehicle. From the cruiser-video, one of the residents can

be seen pointing upstairs toward the third floor of the apartment building.

      41.    To access the third floor of the apartment building, Officer Williams was

directed by a resident to go around the corner to the right of the building and up a hill

between two apartment buildings. He is seen on the cruiser-video walking to the right,

going around the corner of the building, and heading up a muddy hill.

      42.    According to Officer Williams’ cruiser-audio, at 5:35:53 p.m., as he was

making his way towards the stairs to the third floor, he encountered a man who turned

out to be Channara Tom “Philly” Pheap (“Mr. Pheap”)15 coming down the stairs.

According to Officer Williams,16 Mr. Pheap looked “fidgety” and “very nervous.”


      15
         Mr. Pheap was the father of a five-year old daughter and was also helping
to raise his girlfriend’s two young sons. He resided in Knoxville and worked for a
local moving company through a temporary employment agency. Mr. Pheap’s local
criminal history included a 2015 conviction for misdemeanor evading arrest. This
incident occurred when a KPD officer tried to pull him over for having a cracked
windshield and Mr. Pheap sped away. He told officers he drove away because he
thought his license was suspended. By the time of his death, Mr. Pheap’s friends
reported that he had put a troubled past behind him. He was the fourth of nine
siblings and grew up in Philadelphia, Pennsylvania. His siblings reported that he
was “the backbone” of the family,” kept “everyone connected,” and served as the
family’s “mediator.”
      16
         Of course, police officers are often forced to make split-second judgments –
in circumstances that are tense, uncertain, and rapidly evolving – about the amount
of force that is necessary in a particular situation. For this reason, hindsight is

                                          -16-


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      43.    Notably, at this point, Officer Williams had not been given a description

of the hit and run suspect. He did know, however, that the registered owner of the gold

Dodge Neon was female, as noted. No explanation has been provided as to why, at this

moment, Officer Williams suspected that Mr. Pheap had committed a crime,

particularly the hit and run. After all, by logic, he should have initially been looking

for a woman, i.e., Miss Beverwyk.

      D.     Officer Williams Stops and Questions Mr. Pheap

      44.    On muffled audio from the cruiser-recording, Officer Williams can be

heard questioning Mr. Pheap. At that point, he radioed for a description of the driver

of the suspected hit and run vehicle. Over the radio, Officer Williams heard the

following description: “light to medium skin, black male or Hispanic.” Officer Williams

is then heard saying to Mr. Pheap,17 “well, what do you know,” indicating his belief

that he “had his man.”18 Yet, Mr. Pheap was neither “a light or medium-skinned Black

male” nor was he Hispanic.




usually not a reliable tool in assessing the reasonableness of an officer’s actions.
Unfortunately, Mr. Pheap is dead, unable to contradict Officer Williams’ own
version of the events. Therefore, what may very well be a self-serving account of the
incident by Officer Williams should be viewed with circumspection, if not
skepticism.
      17
       While the 2001 Dodge Neon was registered in her name, Miss Beverwyk,
the mother of Mr. Pheap’s 5-year old daughter, told officers that she allowed Mr.
Pheap to use the car and that he had taken over making payments on it.
      18
       Following the shooting, Officer Williams stated, “when he said light skin
black male or Hispanic male that immediately put like – this has to be my suspect.”

                                          -17-


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      45.    Next, Officer Williams asked Mr. Pheap if he had his keys on him and

instructed him to keep his hands out of his pockets. Later, after Officer Williams had

time to reflect and be debriefed, he offered that he had been concerned about a “bulge”

in Mr. Pheap’s pocket, stating that he thought it might have been a weapon.19 And so,

Officer Williams opted to conduct a Terry v. Ohio pat-down for weapons and asked Mr.

Pheap for consent to search his pockets for the keys to the Dodge Neon. On the cruiser-

audio recording, Officer Williams then asked Mr. Pheap to turn around, adding, “Do

you care if I check real quick?”

      E.     A Struggle Begins Between Officer Williams and Mr. Pheap

      46.    Officer Williams later recounted that he was afraid Mr. Pheap had a

weapon, that he thought Mr. Pheap was going to try to escape, and that “[b]ig red flags

were going off.” Still, if he had truly believed Mr. Pheap to be an imminent threat to

his safety, Officer Williams took no form of action to allay such fear.

      47.    At 5:36:59 p.m., audio from Officer Williams’ cruiser-recording system

indicates the beginning of a struggle between the two men. Later, Officer Williams told

investigators that when he started the pat-down, Mr. Pheap, who had his back to him,

“stepped directly away from me and I could tell that at that point he knew it was up

and he was gonna try to get away.” Mr. Pheap “started to try to run forward.”




      19
        It was subsequently determined that Mr. Pheap did not possess a weapon,
nor did he possess anything in his pockets that could have created the so-called
“bulge” which Officer Williams said justified a Terry pat-down.

                                          -18-


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      48.      Officer Williams did not know if Mr. Pheap was the hit and run suspect.

Mr. Pheap was certainly not “under arrest.” Rather, Mr. Pheap, according to Officer

Williams, was merely trying to run. In other words, he was not a danger to Officer

Williams (or to others). Besides, if Mr. Pheap was indeed the hit and run suspect

Officer Williams was looking for, he was fleeing on-foot, the Dodge Neon was blocked-in

by Officer Williams’ Tahoe, and Mr. Pheap’s identity was obviously known by the

Dodge Neon’s registered owner who happened to reside at the complex. Although

Officer Williams could have radioed for back-up, deployed his TASER right then, used

his baton, used pepper spray, or even utilized Nash, his K-9 partner, to pursue Mr.

Pheap. He opted to do none of these things.

      49.      Instead, according to Officer Williams, he unsuccessfully attempted a leg-

sweep maneuver to gain control of Mr. Pheap,20 ultimately grabbing Mr. Pheap “around

the waist,” as Mr. Pheap tried to pull away,21 and essentially tried to tackle him.

      50.      None of this portion of the encounter appears on the cruiser-video, as the

men were still out of view of the cruiser camera, around the corner, up the hill, and

behind the apartment building.22 However, the men suddenly came into view on the

cruiser-video, struggling on the ground as they slid down the muddy hill between



      20
           Mr. Pheap was 5' 10½'' and weighed 157 pounds.
      21
        Following the shooting, Officer Williams stated that “at that point, uh, the
next thing he did was he realized what was up and he starts to step forward and
run forward so I grab him, uh, from behind, uh, basically around the waist, the
stomach, in kind of a bear hug, so his back’s against my chest.”
      22
           In August 2019, KPD officers did not wear body cameras.

                                           -19-


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apartment buildings. Officer Williams is first seen in the video on the back of Mr.

Pheap, whose hands and knees are on the ground. Mr. Pheap rose up, lifted Officer

Williams off the ground, and was able to get on top of the officer.

      F.     Mr. Pheap Breaks Free and Attempts to Run Away with
             Officer Williams In Pursuit with a TASER.

      51.    On the cruiser-video, the struggle continued toward the parking lot, close

to Officer Williams’ Tahoe. As the men neared the parking lot, Mr. Pheap broke free

and began to run away off-camera, to the right of Officer Williams’ Tahoe.

      52.    It is at this point that Officer Williams later says that he pulled his

TASER.23 He is heard yelling “stop,” then, at 5:37:34 p.m. on the cruiser-audio

recording, he said, “I’m gonna tase you, I’m gonna tase you.” At this point, according

to Officer Williams and witnesses, Mr. Pheap stopped running, turned around to face

Officer Williams, and raised his hands.24




      23
         The TASER was first developed in the mid-1970s by American inventor
Jack Cover. TASER is an acronym for Tom A. Swift Electric Rifle (the Tom Swift
books about an inventor of amazing gadgets were a childhood favorite of Cover) and
is a brand-name for the device, which is manufactured by AXON (formerly TASER
Int’l). During the 1990s, the TASER was introduced to law enforcement as an
alternative to deadly force. It became a non-lethal alternative to the use of deadly
force where the baton was insufficient to control persons. As of 2020, about 94% of
the country’s roughly 18,000 police agencies now issue TASERs.
      24
          According to his post-shooting statement to investigators, Officer Williams
stated, “at that point I stop running and I had my TASER out-stretched with one
arm and I start walking, just closing the distance, walking towards him to get a
little closer. And I say, twice I say ‘Get on the ground, get on the ground!’ And he
says, ‘Ok.’ I believe.”

                                         -20-


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       53.    Officer Williams commanded Mr. Pheap to “get down on the fucking

ground, on the fucking ground,” as he continued to close the distance to within a few

feet of Mr. Pheap. By then, a handful of bystanders were observing the men.

       G.     The Second Struggle: in the Parking Lot.

       54.    Then, according to Officer Williams post-shooting statement to

investigators, Mr. Pheap “lunges out and he grabs my TASER with both hands.”25

Officer Williams later said that he heard “the pop of the TASER” and felt the probes.

Photographs taken after the shooting show that at least one TASER probe struck

Officer Williams’ utility belt, the wires wrapped around his arms. Still, Officer

Williams later said that he was “fine,” that he “felt something a little bit” when he was

initially tased, but that Mr. Pheap “must not have gotten a good taser hit.” He didn’t

have to fight through it. “I feel ok, I am fine,” he said.26




       25
       There is no indication why Officer Williams did not deploy his TASER when
he was warning Mr. Pheap that he was going to do so.
       26
       The effects of being tased may only be localized pain or strong involuntary
long muscle contractions, based on the mode of use and connectivity of the darts.
AXON, the maker of the TASER used by KPD, suggests various causes for a TASER
deployment’s limited effectiveness:

       # miss or single dart hit
       # close probe spread
       # incomplete, broken, or intermittent circuit
       # loose or thick clothing
       # low nerve or muscle mass
       # obese subject
       # wires break, touch each other, or fall on a conductive surface
       # operator error

                                            -21-


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      55.    Nothing on the cruiser-video or audio confirms that Mr. Pheap actually

tased Officer Williams.27 Although the TASER pulse-log did indicate that the TASER

had been fired during the incident,28 investigators were unable to synchronize the time-

stamp from the TASER pulse-log with the time-stamp from the cruiser-video.29 It is

also entirely possible that Officer Williams accidentally tased himself during the

struggle, which would also explain the ineffectiveness of the TASER.30




      27
         While a few witness statements and Officer Williams’ own post-incident
statements suggest Mr. Pheap took his TASER away from him and attempted to
use it on him, Mr. Pheap, who presumably lacked any TASER-training, either failed
to deploy the weapon properly, fired it at a range too close to be effective, or it
simply misfired, as the pulse-log graph for Officer Williams’ TASER registered a
2,000 volt shock and Officer Williams was by no means incapacitated from it. High
voltage, in itself, is not dangerous. After all, one can receive a 25,000-volt shock of
static electricity from a door-knob on a dry day without harm.
      28
         Plaintiff disputes that Mr. Pheap actually took the TASER away from
Officer Williams, that Mr. Pheap actually pulled the trigger of the TASER or knew
how to use it, and that Mr. Pheap intended to target Officer Williams with the
TASER. However, however the TASER was triggered, it appears to have been fired
at too close of a range to work effectively.
      29
        Officer Williams received training on TASERs at the KPD Training
Academy and at subsequent in-service training. The extent of neuromuscular
incapacitation depends on several factors, including the spread of the probes and
the strength of contact of the probes. Officer Williams received this information
when he was trained on the use of a TASER.
      30
        From a practical perspective, one needs to be within a relative mid-range, as
far as 15-25 feet, in order to use a TASER. If a subject is too close, then a TASER
would not be effective. Notably, there has been no positive indication by Officer
Williams, witnesses, or other evidence to show just how far away Mr. Pheap was
from Officer Williams when the TASER was allegedly triggered. One witness, in a
ground floor apartment (Apt. No. 1002), told investigators that the men were about
“three feet away” when the TASER was fired, but the same witness also stated that
it was Officer Williams who tased Mr. Pheap from that distance.

                                          -22-


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      H.     Officer Williams Fires Two Shots at Mr. Pheap – Who Is
             Unarmed and Running Away – Mortally Wounding Him in
             the Back.

      56.    In any event, Officer Williams claimed that after he heard the “pop of the

TASER,” he was thinking, “I know what I have to do and I’m thinking I have to do it

as humanly fast as possible.”31

      57.    Although at least one witness, Ms. April Bernard, told investigators that

Mr. Pheap had dropped the TASER by this point (before she heard gun shots), Officer

Williams drew his handgun: “As I’m drawing I see him. I see his face looking at me, I

see his eyes and I fire two rounds at him,” explaining that he fatally shot Mr. Pheap

largely because he feared Mr. Pheap would use the TASER on him.

      58.    According to the cruiser-audio, two “pops” are heard at 5:37:53 p.m.,

corresponding to Officer Williams firing two rounds at the fleeing Mr. Pheap. One of

the rounds struck Mr. Pheap in the back,32 mortally wounding him. Mr. Pheap




      31
        In his post-shooting statement to investigators, Officer Williams lists a
litany of thoughts that purportedly ran through his mind as Mr. Pheap started to
run away, e.g., “this is it,” “I have to come up and I have to end this threat as soon
as I can because one split second and he could either be on top of me and over power
me or he could pull that trigger again and . . . pull the Taser again and it only take
that much,” “I got scared for my life because I know that this – I know what this
taser can do. I know it’s an incapacitating weapon and that if he gets control of this,
he has the ability to possibly incapacitate me completely; take my gun; shoot me;
choke me to death; whatever he wants to do,” “I thought he was gonna kill me,”
“he’s gonna be able to take my gun and shoot me,” “I’m gonna die and thinking
about my wife and one year old son . . . that I’m never gonna see again.”
      32
       At a press conference by DA Allen in November 2019, Chief Medical
Examiner, Dr. Darinka Mileusnic, confirmed the cause and manner of Mr. Pheap’s
death was a “gunshot to the back” of “indeterminate range.”

                                         -23-


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continued to try to get away, running around the corner of a dumpster.33 Officer

Williams pursued him, repeatedly ordering the dying man to “stop.” Mr. Pheap

“ultimately collapsed” on the other side of the dumpster.34 Officer Williams radioed,

“Shots fired; suspect down,” at 5:38:13 p.m.35

      59.    Ms. Paulette Bernard, of Apt. No. 1003, watched the incident unfold, and

stated that Officer Williams was four parking spaces away from Mr. Pheap when he

fired the fatal shot. If Officer Williams was indeed “four parking spaces away” from Mr.

Pheap when he fired, considering the average width of parking spaces in the United

States,36 that would mean the men were separated by approximately forty (40) feet.

      60.    Witness Patsy Ellison told investigators that after breaking free from

Officer Williams, Mr. Pheap had taken off running. She saw Officer Williams, by then

standing, “pull his gun.” She “saw the gun go off” and saw Mr. Pheap being shot, as he

was running away.



      33
        The Medical Examiner indicated that because Mr. Pheap’s spinal cord was
not damaged, he had ten to fifteen seconds of blood in his brain to continue
mobility, explaining his ability to run after being shot.
      34
        KCSO collected a small piece of tin foil next to Mr. Pheap’s body. TBI
forensic chemical analysis showed the residue inside the foil was cocaine. The TBI’s
Crime Lab Official Toxicology Report showed Mr. Pheap was positive for cocaine at
the time of the shooting. Mr. Pheap was also positive for the cocaine metabolites
anhydroecgonine methyl ester and ecgonine methyl ester.
      35
         The shooting of Mr. Pheap was the fourth officer-involved shooting by KPD
officers since November 2018.
      36
         Minimum width standards of parking spaces usually range from 8.5 to 9.0
feet (2.6–2.7 m). In the United States, due to vehicles being larger on average than
some other countries, a parking space is 10 feet (3.0 m) wide.

                                          -24-


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      61.    Witness Matthew Ellison, who also saw the incident, told investigators

that Officer Williams fired the shots at Mr. Pheap while Mr. Pheap was running away.

      62.    One witness, identified by DA Allen as “Witness 4,” stated that Mr. Pheap

“started to run” and Officer Williams fired, as Mr. Pheap was “facing away” from

Officer Williams.

      63.    On the cruiser-audio, immediately after the shooting, someone is

overheard asking Officer Williams why he shot Mr. Pheap. He responded, “he took my

TASER and tried to tase me,” implying that Mr. Pheap had actually not tased him.

      I.     Chief Medical Examiner’s Final Autopsy Report: “Gunshot
             Wound of Back.”

      64.    On August 31, 2019, Christopher Lochmuller, MD, the Knox County Chief

Deputy Medical Examiner presented Mr. Pheap’s final autopsy report, indicating that

Mr. Pheap was pronounced dead at 6:37 p.m. on August 26, 2019. He was killed by a

“large caliber, jacketed, open hollow point, moderately deformed bullet.”

      65.    The final autopsy report concluded that Mr. Pheap “[d]ied of gunshot

wound of back.” While DA Allen disputed the fact that Mr. Pheap was shot in the back

at her November 2019 press conference and in her written findings, suggesting that

Mr. Pheap was hit “in the side,” as if he had been facing Officer Williams, the autopsy

left no doubt that Mr. Pheap was shot in the back:

             #      “An autopsy revealed a single gunshot wound on the
                    left side of the upper back associated with significant
                    internal bleeding, a fractured rib, and severe organ
                    injury.”

             #      “Penetrating gunshot wound of back”

                                          -25-


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             #      “Entrance: left upper back”

             #      “Trajectory: The wound track travels from the
                    decedent’s back to front, left to right, and down.”

             #      “Clothing: The left side of the upper aspect of the
                    back of the grey T-shirt has a 1/2 x 3/8 inch defect
                    with a ragged edge, which corresponds to the
                    entrance gunshot wound on the left side of the upper
                    back.”

      J.     Officer Williams’ Private Statement

      66.    Days after the shooting death of Mr. Pheap, Officer Williams released a

statement through a private attorney stating, among over self-serving allegations, that

Mr. Pheap was not shot in the back, as the Medical Examiner’s office had reported, but

that Mr. Pheap “was shot once on the side of his body.”

      K.     KCSO and DA Allen’s Exoneration of Officer Williams for
             Fatally Shooting Mr. Pheap.

      67.    Although the KPD’s General Order 1.6 (VII) provided in August 2019 and

continues to provide that “[t]he Internal Affairs Unit and Tennessee Bureau of

Investigation shall conduct simultaneous investigations in all incidents where a lethal

response is employed resulting in injury or death,”37 the investigation into the shooting

death of Mr. Pheap was instead performed by the KCSO under a Memorandum of

Understanding for Officer-Involved Shootings between the City and Knox County.38


      37
         General Order 1.6 also provides that “[r]eports and investigative findings
will be reviewed by the Critical Incident Review Board, upon request of the Chief of
Police.” In this instance, it appears Chief Thomas did not make such a request.
      38
       After Plaintiff’s attorneys dispatched their own investigators to Clear
Springs Apartments to question potential witnesses, KCSO investigators told

                                          -26-


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      68.    Approximately ten weeks after the fatal shooting of Mr. Pheap, and after

stonewalling both the public and Plaintiff’s attorneys from information about the fatal

shooting,39 on November 7, 2019, DA Allen called a media conference to announce the

exoneration of Officer Williams in the fatal shooting of Mr. Pheap.

      69.    DA Allen announced the findings that the actions of Officer Williams:

             “were subjectively and objectively justified. I further
             conclude that the method, manner, and amount of force
             utilized in this incident amounted to a necessary response
             to thwart the threat involved. I am closing this investigation
             as a justifiable homicide.”

      70.    DA Allen also stated that “the proof supports Ofc. Williams’ statement

that he fired at Pheap while Pheap was firing the taser at him.” According to DA Allen,

             “[t]he timeline contradicts the possibility that Pheap had
             disengaged from the fight with Ofc. Williams over that taser
             and had enough time to run away before being shot. Viewed
             under the totality of the circumstances, the evidence
             supports that Ofc. Williams shot Pheap while Pheap was
             shooting Ofc. Williams with the taser.”

      71.    DA Allen further found that:




witnesses they did not have to speak to them, implying Plaintiff’s attorneys’ own
investigation of their Mr. Pheap’s death was unlawful, even threatening to report
Plaintiff’s investigators to DA Allen, telling one witness: “We’re gonna let the
District Attorney’s Office know that’s going on, too. Ok?”
      39
        Plaintiff’s attorneys were ultimately compelled to file a lawsuit in the
Chancery Court of Knox County to obtain public records concerning the facts
surrounding Mr. Pheap’s shooting death. See Baker, et al. v. City of Knoxville, et al.,
No. 199037-1 (Knox Chancery Jan. 14, 2020). Notably, although Officer Williams
was required by KPD policy to complete a Use of Force Report and a Firearms Use
Report, see General Order 1.6 (VII)(C), if those reports were completed, they were
not produced, despite requests under the Tennessee Public Records Act.

                                          -27-


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             “Ofc. Williams had probable cause to believe that Pheap
             posed a threat of serious bodily injury under Tenn. Code
             Ann. § 39-11-620. Additionally, Ofc. Williams had a
             reasonable belief, founded upon reasonable grounds, that
             Pheap posed an imminent real danger of death or serious
             bodily injury as discussed in the self-defense statute, Tenn.
             Code Ann. § 39-11-611.”

      L.     Mr. Pheap Was Not an Imminent Serious Physical Threat to
             Officer Williams at the Time He Was Shot.

      72.    The exoneration of Officer Williams by DA Allen largely hinged on

speculation about the alleged threat posed by Mr. Pheap — and particularly the

imminence of that alleged threat – rather than the actual evidence. That speculation

led DA Allen far astray from the relevant and more narrow question at stake: whether

Officer Williams had probable cause to believe Mr. Pheap posed an imminent serious

physical threat.

      73.    Statements from witnesses and the presence of physical evidence indicate

that Officer Williams was not in any imminent danger from Mr. Pheap when he fired

the two rounds from his Sig Sauer, hitting him once in the upper back and mortally

wounding him. By the time Mr. Pheap began to flee from Officer Williams in the

parking lot, Officer Williams’s single-shot TASER had already been errantly deployed,

its wires now dangling off Officer Williams’ utility belt. By then, Mr. Pheap was

approximately 40 feet away from Officer Williams, well beyond the 25-feet length of

the TASER wires. In short, Mr. Pheap simply could not have been holding onto the

TASER at this point when he was beyond the length of the wires.




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      74.    And the distance between Mr. Pheap and Officer Williams had only

increased as Mr. Pheap kept running away. This lengthening of space meant that the

reasonable thing for any officer to have done was to monitor Mr Pheap or issue a

warning. Certainly, at that particular moment, Mr. Pheap posed no significant threat

of death or serious physical injury to Officer Williams.

      75.    If Mr. Pheap was still running away from Officer Williams, as multiple

witnesses describe, there was no risk to life or serious bodily injury by then, especially

if Mr. Pheap had dropped the TASER. The distance between the two men when Mr.

Pheap was shot corroborates this observation.40 And so, even if Mr. Pheap had the

TASER in his hand as he was running away, he could not have been holding it if he

was more than 25 feet away.

      M.     Officer Williams Failed to Warn Mr. Pheap Before Firing
             Two Shots at Him.

      76.    Under Tennessee v. Garner, 471 U.S. 1, 11-12 (1985), Officer Williams also

had a legal obligation to warn Mr. Pheap that he was going to fire at him, when

feasible under the circumstances. Under the circumstances described above, it was

entirely feasible for Officer Williams to have warned Mr. Pheap that he would shoot

or otherwise use deadly force before he fired at Mr. Pheap. Yet, there is nothing to

indicate that Officer Williams warned Mr. Pheap before he fired two rounds at him.




      40
        Dr. Lochmuller, Knox County’s Deputy Chief Medical Examiner, stated that
he examined Mr. Pheap’s shirt and “did not find any evidence of soot or stipple.”
This finding suggests that the shot was not made at a close range.

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      77.    Notwithstanding that Mr. Pheap had, by at least one eyewitness account,

dropped the TASER, that Mr. Pheap was, by multiple eyewitness accounts, running

away from Officer Williams, and that despite Mr. Pheap’s increasing distance

(approximately 40 feet) from Officer Williams, Officer Williams still did not warn Mr.

Pheap that he was going to use deadly force and shoot. At a minimum, Officer Williams

could have warned Mr. Pheap and waited, even a fraction of a second, to gauge Mr.

Pheap’s response to having a .45 handgun leveled at him.

                           V. WAIVER OF IMMUNITY

      78.    The City has waived immunity for its own negligence and for its

employees, misconduct of officers acting under color of law, and for the negligence of

officers, as set out in Tenn. Code Ann. § 29-20-305. There is no immunity for

individuals for criminal conduct, or conduct which is willful or malicious.

                            VI. CLAIMS FOR RELIEF

                                    COUNT ONE

                               EXCESSIVE FORCE

       Violation of Civil Rights under Color of Law, 42 U.S.C. §§ 1983
           and 1988, Under Fourth and Fourteenth Amendments

                    (Against Officer Williams, Individually)

      79.    The allegations of the preceding paragraphs of this Complaint are hereby

incorporated by reference, as if set forth verbatim.

      80.    Officer Williams used excessive force when he seized, shot, and killed Mr.

Pheap. Officer Williams’ unjustified shooting deprived Mr. Pheap of his fundamental


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interest in life and his right to be secure in his person against unreasonable searches

and seizures as guaranteed to him under the Fourth Amendment to the United States

Constitution, as applied to state actors by the Fourteenth Amendment.

      81.    According to KPD’s written policy, lethal force,41 such as that used by

Officer Williams against Mr. Pheap, is only authorized under the following

circumstances:

             To protect the member or others from what is reasonably
             believed to be an imminent threat of death or serious bodily
             injury.

             In accordance to T.C.A. 39-11-620, to effect an arrest only if
             all other reasonable means of apprehension have been
             exhausted or are unavailable, and where feasible, the officer
             has given notice of the officer’s identity as such and given a
             warning that lethal force may be used unless resistance or
             flight ceases, and:

             1.     The officer has probable cause to believe the
                    individual to be arrested has committed a felony
                    involving the infliction or threatened infliction of
                    serious bodily injury; or

             2.     The officer has probable cause to believe that the
                    individual to be arrested poses a threat of serious
                    bodily injury, either to the officer or to others unless
                    immediately apprehended.

See General Order 1.6.42


      41
       “Lethal force,” according to KPD policy, is “[a]ny force that is likely to cause
death or serious bodily injury.” See General Order 1.6(II)(I).
      42
        General Order 1.6 further provides that “lethal force/response shall not be
used in the following circumstances:

                                          ***

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      82.    When Officer Williams fired two rounds at Mr. Pheap from his .45 Sig

Sauer, he had not yet exhausted “all other reasonable means of apprehension,

including many of the following force-options available to KPD officers when a subject

is “passively resistant, active resistant and/or actively aggressive”:

             #      “Empty Hand Hard” – strikes, kicks, leg-sweeps,
                    trips, tackles and bi-lateral neck restraints to effect
                    control of the resisting subject;

             #      “Empty Hand Soft” techniques – empty hand escort
                    controls, pressure points, come-a-longs, and
                    directional controls that have a minimal chance of
                    inflicting injury;

             #      Oleoresin Capsicum (OC) Spray (pepper-spray);

             #      Baton;

             #      TASER Conducted Energy Weapon (CEW); and

             #      Bi-lateral Neck Restraint/Shoulder Pins

      83.    In this particular instance, Officer Williams had more force-options

available to him than most KPD officers, as he was also assigned to a canine (K-9) unit,

and his K-9, Nash, accompanied him to the apartments in the back of the Tahoe.

      84.    Officer Williams was armed with a TASER, model X26P, manufactured

by AXON. According to AXON’s marketing materials, the X26P is a single-shot CEW

that is the smallest and compact of AXON’s TASERs. Upon firing, the X26P emits 2

probe-darts attached to insulated conductive wires that travel a distance of up to 25



             iv.    In situations involving misdemeanor offenses.”

See General Order 1.6(V).

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feet43 to reach their target.44 The X26P delivers an electric pulse to the target, which

overrides the sensory and motor functions of the central nervous system. A single

trigger pull and release discharges an electrical charge for a 5-second cycle. Once a

cartridge is fired, the operator can re-energize it by pulling the trigger.

      85.    At the moment Officer Williams fired two shots at Mr. Pheap, he lacked

probable cause to believe Mr. Pheap posed a threat of serious bodily injury and also

lacked reasonable grounds to believe Mr. Pheap posed an imminent real danger of

death or serious bodily injury.

      86.    Indeed, when Officer Williams fired the two shots, Mr. Pheap was

unarmed, having dropped the TASER (assuming he ever had it in the first place, which

Plaintiff disputes), and was running away, his back to Officer Williams. He had no

means of escape, as the vehicle in which he had arrived at the apartments was blocked-

in by Officer Williams’ Tahoe and he could have been easily identified.45

      87.    According to at least one eyewitness, Mr. Pheap was four parking spaces

away (as much as 40 feet) from Officer Williams at the moment he was shot, giving

Officer Williams plenty of space to: (a) radio for backup, (b) retrieve his K-9 from the

Tahoe to pursue Mr. Pheap, or (c) re-deploy his TASER, among other possibilities.



      43
        A photo of the blast doors on Officer Williams’s TASER revealed green blast
doors, which AXON’s website indicates is a cartridge containing 25-foot-long wires.
      44
        AXON suggests the rule of thumb is a 1 foot (.3 m) spread for every 7 feet
(2.1 m) the probes travel.
      45
        Notably, the registered owner of the Dodge Neon resided at the apartments.
Thus, it would have been relatively easy for officers to identify Mr. Pheap.

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      88.    According to Officer Williams, the KCSO, and DA Allen, it was Mr.

Pheap’s possession of Officer Williams’ TASER that gave rise to the purported

“imminent threat of death or serious physical harm” to Officer Williams. But Mr.

Pheap was running way. And if Mr. Pheap ever had the TASER, he had since dropped

it, as indicated by the lengthening of the distance between him and Officer Williams,

who had a TASER-dart stuck in his utility belt at the moment he fired at Mr. Pheap.

      89.    To the extent Officer Williams might continue to insist that Mr. Pheap

tased him, that Mr. Pheap still controlled the TASER, or that Mr. Pheap had the

ability to use the TASER on him, this still would not have justified Officer William’s

use of deadly force against Mr. Pheap in this particular instance.

      90.    In this federal circuit, the use of a TASER device constitutes non-lethal

force. See Roberts v. Manigold, 240 F. App’x 675, 678, n.4 (6th Cir. 2007); Russo v. City

of Cincinnati, 953 F.2d 1036, 1045-46 (6th Cir. 1992); Haupricht v. Contrada, 2009

U.S. Dist. LEXIS 116780, at *10 (N.D. Ohio Dec. 15, 2009). 46




      46
         Other federal circuits follow suit. See, e.g., Simmons v. Rhodes, 2016 U.S.
Dist. LEXIS 99473, at *6 (E.D. Ark. July 28, 2016) (TASER is not deadly force);
Glenn v. City of Columbus, Ga., 375 Fed. Appx. 928, 2010 U.S. App. LEXIS 8276, at
*5 (11th Cir. Apr. 20, 2010) (per curiam) (beanbag munition was not deadly force;
instead, it “lies in the unwashed middle somewhere between deadly force and the
use of a Taser gun”); Bryan v. MacPherson, 608 F.3d 614, 621-22 (9th Cir. 2010),
rehearing on banc denied by 630 F.3d 805, 2010 WL 4925422 (Nov. 30, 2010) (“We,
along with our sister circuits, have held that tasers and stun guns fall into the
category of non-lethal force. . . .”); San Jose Charter of Hells Angels Motorcycle Club
v. City of San Jose, 402 F.3d 962, 969 n. 8 (9th Cir. 2005) (“The officers did not
bring with them any of the variety of non-lethal ‘pain compliance’ weapons used by
police forces, such as tasers or stunbag shotguns”).

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      91.    Nor does the use of a TASER create an imminent threat of serious bodily

injury, as Officer Williams, the KCSO, and DA Allen suggest. See, e.g., Lindsay v.

Kiernan, 378 Fed. Appx. 606, 608 n. 3 (9th Cir. Apr. 29, 2010) (“Lindsay fails to

demonstrate on this record that deployment of a taser at a gas station ‘creates a

substantial risk of causing death or serious bodily injury.’”).

      92.    If Mr. Pheap did not have the TASER, there has been no indication

whatsoever that Mr. Pheap was otherwise armed with a weapon of any type. And no

weapon was discovered on or around his body after his death.

      93.    No reasonable officer under the circumstances would have believed that

the use of deadly force against Mr. Pheap was lawful. Officer Williams thus lacked

probable cause or reasonable suspicion to believe Mr. Pheap posed an imminent danger

of death or serious physical harm to him (or to others). Even if some force were

constitutionally reasonable, the degree of force used here – firing two rounds at a

fleeing Mr. Pheap – was clearly excessive and unconstitutionally disproportionate in

degree to the circumstances.

      94.    In addition to unreasonably using deadly force against Mr. Pheap, Officer

Williams also failed to warn Mr. Pheap that he was going to shoot to kill him. His

failure to warn was striking, even making allowance for the fact that police officers are

often forced to make split-second judgments in circumstances that are tense, uncertain,

and rapidly evolving, as the Supreme Court emphasized 35 years ago the importance

of warnings when feasible before using lethal force. See Tennessee v. Garner, 471 U.S.

1, 11-12 (1985). Nor can Officer Williams’ omission of any meaningful warning in this

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instance be excused by inferring that the circumstances were too “tense, uncertain, and

rapidly evolving” to undercut foundational principles of law enforcement conduct.

       95.    Officer Williams’ use of deadly force in shooting Mr. Pheap was legally

unjustified and objectively unreasonable and violated Mr. Pheap’s rights to be free of

unreasonable seizure and use of excessive force under the Fourth Amendment. E.g.,

Tennessee v. Garner, 471 U.S. 1, 12-12, 21(1985); see, e.g., Graham v. O’Connor, 490

U.S. 386, 396 (1989). This right to be free of the use of objectively unreasonable deadly

force was also clearly established at the time and had been so for decades.

       96.    Mr. Pheap died from a gunshot wound to the back. Officer Williams’

actions and omissions, including his unreasonable and unjustified use of deadly force

against Mr. Pheap, proximately caused Mr. Pheap’s death. His actions and omissions

also deprived Mr. Pheap of his fundamental interest in life, in violation of the United

States Constitution. As a result, Officer Williams is liable for Mr. Pheap’s death.

       97.    Specifically, Officer Williams’ violations of Mr. Pheap’s Fourth

Amendment rights directly and proximately caused Mr. Pheap to suffer (a)

excruciating physical pain and suffering before his death; (b) severe emotional

suffering and mental anguish, despair, and hopelessness before his death; (c) lost

earnings and/or loss of earning capacity in the future based on the probable duration

of his life if his death had not occurred; (d) loss of the enjoyment of the remainder of the

probable duration of his life if his death had not occurred; (e) funeral and burial

expenses, all of which are recoverable by Mr. Pheap’s estate, through Plaintiff; and (f)

the loss of society and companionship for Mr. Pheap’s minor daughter.

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      98.    Furthermore, the conduct of Officer Williams was also willful, wanton,

malicious, deliberately indifferent, and done with reckless disregard for Mr. Pheap’s

federally-protected rights, justifying an award of punitive damages so as to prevent a

recurrence of such misconduct and to deter others from engaging in similar misconduct.

and therefore warrants the imposition of exemplary and punitive damages.

      99.    Plaintiff sues the Officer Williams for its violation of Mr. Pheap’s

constitutional rights, and seeks any and all damages allowable, attorney’s fees

pursuant to 42 U.S.C. § 1988, costs, and discretionary costs.

                                     COUNT TWO

                     FAILURE TO TRAIN AND SUPERVISE

                Violation of Civil Rights under Color of Law,
  42 U.S.C. §§ 1983 and 1988 under Fourth and Fourteenth Amendments

               (Against the City and Chief Thomas, Individually)

      100.   The allegations of the preceding paragraphs of this Complaint are hereby

incorporated by reference, as if set forth verbatim.

      101.   As Chief of Police of the City, Chief Thomas has final authority and makes

policy for the City and KPD in establishing and implementing policies and/or

procedures with respect to the use of force by police against citizens (including both

less-lethal and deadly force), as well, as the legal limits of such activities, for police

officers employed by the KPD.

      102.   Here, the unconstitutional consequences of failing to train officers in the

reasonable and justifiable use of deadly force are so patently obvious that the City and


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Chief Thomas are liable under § 1983. Officer Williams’ actions –

             # the unnecessary tackling of Mr. Pheap that escalated the
             confrontation;

             # the complete failure to utilize the force-continuum in
             choosing which methods of force to utilize on Mr. Pheap;

             # the failure to effectively use non-deadly force; and

             # the unnecessary and unreasonable use of deadly force
             without warning against a fleeing and unarmed
             misdemeanor traffic offense suspect –

demonstrate such obvious and egregious training and supervisory deficiencies to make

KPD’s use-of-force training constitutionally defective.

      103.   Upon information and belief, as final policymaker for the KPD, Chief

Thomas established and implemented policies and procedures, and/or ratified

pre-existing policies and procedures, regarding the use of force by KPD officers against

citizens (including less-lethal and deadly force), which policies and procedures

themselves violate federal constitutional law.

      104.   Even if the policies and procedures regarding the use of force by police

against citizens (including both less-lethal and deadly force) do not themselves violate

federal law, there is and was – at the time of the deadly encounter between Officer

Williams and Mr. Pheap – a persistent and widespread practice among KPD officers

of using excessive and/or deadly force on a subject when it is unnecessary and

objectively unreasonable as a matter of law to do so, amounting to a custom or course

of conduct so widespread as to become informal KPD policy, acquiring the force of law.




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      105.   And even if the formal policies and procedures of the KPD are not

themselves unlawful, alternatively, the operation of such policies and procedures “on

the street” reflects a standard operating procedure, and a widespread and persistent

practice, of KPD officers violating citizens’ federally-protected rights as identified

herein. This standard operating procedure is shown by citizen lawsuits charging police

misconduct; citizen complaints regarding such misconduct; and the KPD’s limited

internal records of individual instances of application of these policies and procedures,

such as incidents involving the use of less lethal and deadly force.

      106.   The fact that the provisions of General Order 1.6 have been disregarded

by Chief Thomas – insofar as the TBI has not been enlisted, as mandated by that order

– to conduct simultaneous investigations with respect to “all incidents where a lethal

response is employed resulting in injury or death,” further indicates nothing less than

a defacto policy against the independent review of deadly force incidents and a policy

of acquiescence to the unreasonable use of deadly force. Such a practice effectively

immunizes the City from accountability for such unreasonable uses of deadly force by

KPD officers as occurred in this case.47

      107.   At all times material to this complaint, Chief Thomas and the City have

known or have had constructive knowledge of this widespread and persistent practice

of violations, but have refused or failed to take measures reasonably necessary to

prevent or minimize such violations.


      47
       Nor has Chief Thomas requested review of such incidents by the Critical
Incident Review Board, as provided by General Order 1.6.

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      108.   The response by Chief Thomas and the City to this widespread and

persistent practice of constitutional violations has been inadequate. These include but

are not limited to:

             #        the lack of or inadequate mechanism for identifying
                      or tracking unconstitutional uses of force;

             #        the lack of or inadequate documentation of individual
                      uses of force, and the justification for such;

             #        the lack of or inadequate supervisory review of
                      documentation of individual uses of force and the
                      justification for such;

             #        the lack of or inadequate mechanism for monitoring
                      or tracking uses of force;

             #        the lack of unbiased investigation of complaints of
                      improper uses of force;

             #        the lack of or inadequate investigation of complaints
                      of improper uses of force;

             #        the lack of or inadequate training regarding the legal
                      limitations on the permissible use of force, both
                      less-lethal and deadly force; and

             #        the lack of or inadequate discipline of individual
                      officers found to have committed unlawful uses of
                      force.

      109.   Violations of citizens’ constitutional rights of the type inflicted on Mr.

Pheap, specifically including the use of excessive and/or deadly force, are the known

or obvious consequences either of formal City or KPD policies and procedures that

themselves violate federal law, or of a widespread and persistent practice and custom

of such violations in which Chief Thomas and the City have acquiesced or which they


                                           -40-


   Case 3:20-cv-00387 Document 1 Filed 08/26/20 Page 43 of 52 PageID #: 43
have tacitly authorized. The actions and omissions of Chief Thomas and the City, as

identified herein, reflect deliberate indifference on the part of Chief Thomas and the

City to such known or obvious consequences of their actions and omissions, as resulted

in the deprivation of Mr. Pheap’s federally-protected rights.

      110.   Such widespread and persistent practices of violations by City officers of

citizens’ constitutional tights, as acquiesced in by Chief Thomas and the City, were the

moving force behind – and directly and proximately caused – the violations of Mr.

Pheap’s rights and his death; and render the City liable for the causal connection

between this deliberate indifference and Officer Williams’s violations of Mr. Pheap’s

rights, and/or the City’s custom or practice of constitutional violations that proximately

resulted in the violation of Mr. Pheap’s rights.

      111.   The City, KPD, and Chief Thomas failed to train and supervise officers

or employees to avoid the use of excessive force, including less-lethal and deadly force,

failed to meaningfully investigate allegations of such force, failed to seek independent

review of deadly force incidents by the TBI, as mandated by General Order 1.6, and

have attempted to conceal unconstitutional conduct by failing to conduct transparent

investigations, and by exonerating officers, like Officer Williams, through sham

investigations focused on exonerating KPD officers, rather than searching for justice.

      112.   The City, KPD, and Chief Thomas had a duty of care to Mr. Pheap to

ensure that KPD officers were properly trained in the appropriate procedure for using

deadly force. This duty extends to ensuring that KPD officers were properly trained

concerning the limits of their authority to use deadly force.

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       113.     The City, KPD, and Chief Thomas also had a duty to properly supervise

KPD officers and to ensure that KPD supervisory officers do not condone the

unnecessary use of force, including deadly force. This is especially true when there is

(a) a “likelihood that [a] situation will recur” (b) with such a “high degree of

predictability” that “an officer lacking specific tools to handle that situation will violate

citizens' rights.” Here, routine investigations of hit and run accidents or similar traffic

incidents by KPD patrol officers are a frequent part of their daily shifts. Officers must

have specific training to be equipped to properly react to recurring situations, such as

the one presented, without unnecessarily escalating them.

       114.     In this case, Officer Williams lacked the tools the City, KPD, and Chief

Thomas should have provided him to allow him to safely handle the situation that

confronted him. Consequently, Officer Williams wound up unnecessarily escalating the

level of force and needlessly causing a citizen’s death, over what began as a routine

investigation of a misdemeanor traffic offense.

       115.     By not enlisting the TBI to conduct a simultaneous investigation, as policy

dictated, and by not conducting a meaningful investigation herself, Chief Thomas

essentially let it be known that she condoned Officer Williams’ unreasonable use of

deadly force.

       116.     By so ratifying Officer Williams’ unreasonable use-of-deadly force against

Mr. Pheap, Chief Thomas also knowingly acquiesced in the unconstitutional conduct

of Officer Williams through the execution of her job functions, rendering the City liable

to Plaintiff.

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      117.   The City, KPD, and Chief Thomas’ failure to develop and promulgate

lawful policies outlining the guidelines for such situations and the appropriate use-of-

force and to properly train its officers and supervisors to follow such guidelines

constitute deliberate indifference to the constitutional rights of citizens.

      118.   The failure of Chief Thomas – and unknown supervisors – to recognize or

appreciate the gravity of Officer Williams’ actions imply that they, too, found no wrong

in his conduct, all but “green lighting” Fourth Amendment violations by KPD officers.

      119.   Here, Officer Williams believed that his actions would not be properly

monitored or corrected by supervisory officers and that his misconduct would be

tolerated and accepted. His belief was prescient.

      120.   As a direct and proximate result of the actions and omissions of the City,

KPD, and Chief Thomas causing the violation of his Fourth Amendment rights, Mr.

Pheap suffered (a) excruciating physical pain and suffering before his death; (b) severe

emotional suffering and mental anguish, despair, and hopelessness before his death;

(c) lost earnings and/or loss of earning capacity in the future based on the probable

duration of his life if his death had not occurred; (d) loss of the enjoyment of the

remainder of the probable duration of his life if his death had not occurred; (e) funeral

and burial expenses, all of which are recoverable by Mr. Pheap’s estate, through

Plaintiff; and (f) the loss of society and companionship for Mr. Pheap’s minor daughter.

      121.   Plaintiff sues the City and Chief Thomas for violating Mr. Pheap’s

constitutional rights, and seeks any and all damages allowable, attorney’s fees

pursuant to 42 U.S.C. § 1988, costs, and discretionary costs.

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                                  COUNT THREE

                               WRONGFUL DEATH

                      TENN. CODE ANN. §§ 20-5-106 et seq.

                             (Against All Defendants)

      122.   The allegations of the preceding paragraphs of this Complaint are hereby

incorporated by reference, as if set forth verbatim.

      123.   Plaintiff brings this action as the Court-appointed Administratrix and

Personal Representative of the Estate of Channara Pheap, as authorized by Tenn. Code

Ann. §§ 20-5-106 et seq., Tennessee’s Wrongful Death Statute.

      124.   Defendants owed a duty of due care to Mr. Pheap at all times relevant to

this action, and violated that duty in the manner alleged herein.

      125.   Officer Williams knew that Mr. Pheap was unarmed and running away

from him – at an approximate distance of 40 feet – when he fired on him twice and

fatally shot him in the back with his .45 Sig Sauer. Mr. Pheap posed no threat to

Officer Williams’ safety – imminent or otherwise – at that moment.

      126.   The foregoing acts of Officer Williams proximately caused the fatal

injuries to Mr. Pheap, entitling Plaintiff to recover compensatory damages from the

Defendants for such damages. Said damages include, but are not limited to, the

tremendous pain and suffering Mr. Pheap suffered before his death, Mr. Pheap’s lost




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wages, funeral, and/or related burial expenses, and loss of society and companionship

for Mr. Pheap’s minor daughter.

      127.   The intentional and negligent actions of Defendants were performed

knowingly, wantonly and with gross disregard for the safety and welfare of Mr. Pheap.

      128.   Based upon the foregoing allegations of this Complaint, Plaintiff is

entitled to recover a judgment in the amount of Five-Million Dollars ($5,000,000) in

compensatory damages and Five Million Dollars ($5,000,000) in punitive damages.

                                   COUNT FOUR

                                     BATTERY

                            (Against Officer Williams)

      129.   The allegations of the preceding paragraphs of this Complaint are hereby

incorporated by reference, as if set forth verbatim.

      130.   The above-described fatal shooting of the fleeing Mr. Pheap by Officer

Williams, acting under color of law and in the course and scope of his employment for

the City, constitutes a battery against Mr. Pheap.

      131.   As a direct and proximate result of the actions of Officer Williams, Mr.

Pheap suffered severe pain and suffering, and died from his injuries. Officer Williams

had no legal justification for using deadly force against Mr. Pheap, and officer

Williams’ use of such deadly force while carrying out his duties as such an officer was

unreasonable under the circumstances. As such, it constituted a battery under

Tennessee law.




                                         -45-


   Case 3:20-cv-00387 Document 1 Filed 08/26/20 Page 48 of 52 PageID #: 48
      132.   The foregoing acts of Officer Williams proximately caused the fatal

injuries to Mr. Pheap, entitling Plaintiff to recover compensatory damages from the

Defendants for such damages. Said damages include, but are not limited to, the

tremendous pain and suffering Mr. Pheap suffered before his death, Mr. Pheap’s lost

wages, funeral, and/or related burial expenses, and loss of society and companionship

for Mr. Pheap’s minor daughter.

      133.   The conduct of Officer Williams was malicious, wanton, oppressive, and

accomplished with a conscious disregard for the rights of Mr. Pheap, entitling Plaintiff

to an award of punitive damages.

                                    COUNT FIVE

                                   NEGLIGENCE

                             (Against All Defendants)

      134.   The allegations of the preceding paragraphs of this Complaint are hereby

incorporated by reference, as if set forth verbatim.

      135.   Defendants had a duty to Mr. Pheap to act with ordinary care and

prudence so as not to cause him harm or injury.

      136.   The actions and inactions of Defendants were negligent and reckless,

including but not limited to, the negligent use of deadly force against Mr. Pheap, which

resulted in Mr. Pheap’s death.

      137.   Defendants owed a duty to the public in general and to Mr. Pheap

specifically to use due care in fulfilling duties as police officers and to ensure their

conduct conformed to applicable laws, policies, procedures, and generally accepted

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police standards. Defendants failed to use due care and were negligent, grossly

negligent, reckless, willful, and wanton in all of the foregoing particulars.

      138.   Pursuant to the Tennessee Governmental Tort Liability Act, these

Defendants also owed Mr. Pheap a duty of care to be free from excessive force and to

protect him from injury.

      139.   Defendants breached those duties of care, as set forth herein.

      140.   As a direct and proximate result of Defendants’ conduct, as alleged above,

and other undiscovered negligent conduct, Mr. Pheap was caused to suffer severe pain

and suffering and ultimately died.

      141.   The foregoing acts of Officer Williams proximately caused the fatal

injuries to Mr. Pheap, entitling Plaintiff to recover compensatory damages from the

Defendants for such damages. Said damages include, but are not limited to, the

tremendous pain and suffering Mr. Pheap suffered before his death, Mr. Pheap’s lost

wages, funeral, and/or related burial expenses, and loss of society and companionship

for Mr. Pheap’s minor daughter.

                                VII. JURY DEMAND

      142.   Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a

trial by jury of all of the claims asserted in this Complaint so triable.

                           VIII. PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays:

      A.     That Defendants be served with a copy of this Complaint and be required

to answer;

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      B.     That the Court find that Defendants have engaged in the conduct and

statutory and common law violations alleged herein;

      C.     That Plaintiff be awarded such damages as will fully compensate Plaintiff

for all injuries proximately caused by Defendants’ actions and that a judgment in

Plaintiff’s favor be entered;

      D.     That Plaintiff be awarded compensatory damages in an amount to be

determined by the trier of fact, not to exceed $5,000,000;

      E.     That Plaintiff be awarded punitive damages in an amount to be

determined by the trier of fact, not to exceed $5,000,000;

      F.     That Plaintiff have and recover costs for this suit, including reasonable

attorneys’ fees and discretionary costs, as provided by law; and

      G.     That Plaintiff be awarded pre-judgment and post-judgment interest as

permitted by common law or applicable statute and such other or further relief as may

be just and proper.




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   Respectfully submitted, this 26th day of August, 2020.


                                   /s/ Lance K. Baker
                                   Lance K. Baker
                                   Tenn. Bar #: 032945
                                   THE BAKER LAW FIRM
                                   550 Main Street, Suite 600
                                   Knoxville, TN 37902
                                   Tel: (865) 200-4117
                                   Fax: (865) 437-3370
                                   lance@lbakerlawfirm.com

                                   Joshua D. Hedrick, Esq.
                                   WHITT, COOPER, HEDRICK
                                     & WOJCIK
                                   607 Market Street, Suite 1100
                                   Knoxville, TN 37902
                                   Tel: (865) 518-7073
                                   Email: hedrick@knoxdefense.com

                                   Counsel for Plaintiff




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